

Matter of Hopkins (2024 NY Slip Op 04235)





Matter of Hopkins


2024 NY Slip Op 04235


Decided on August 15, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 15, 2024

PM-166-24
[*1]In the Matter of Mark Leland Hopkins, an Attorney. (Attorney Registration No. 2083616)

Calendar Date:August 12, 2024

Before:Clark, J.P., Pritzker, Ceresia, Fisher and McShan, JJ.

Mark Leland Hopkins, Melbourne, Florida, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Mark Leland Hopkins was admitted to practice by this Court in 1986 and lists a business address in Melbourne, Florida with the Office of Court Administration. Hopkins now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Hopkins's application.
Upon reading Hopkins' affidavit sworn to May 31, 2024 and filed June 3, 2024, and upon reading the August 2, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Hopkins is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Clark, J.P., Pritzker, Ceresia, Fisher and McShan, JJ., concur.
ORDERED that Mark Leland Hopkins' application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Mark Leland Hopkins' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Mark Leland Hopkins is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Hopkins is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Mark Leland Hopkins shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








